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                  EXHIBIT E
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                                                              December 22, 2021
VIA FIRST-CLASS MAIL/EMAIL/PDF
Imran H. Ansari, Esq.
Aidala, Bertuna & Kamins, P.C.
546 Fifth Avenue
New York, New York 10036

             Re: Nwosuocha v. Glover, et al. (Civ. Action No. 21-cv-04047)

Dear Mr. Ansari:

        We write to you on behalf of our clients in the above-referenced action and pursuant to
Paragraph II.B. of the Individual Practices of U.S. District Judge Victor Marrero to “set[] forth the
specific … pleading deficiencies in the complaint and other reasons or controlling authorities” we
contend “would warrant dismissal and that, if properly rectified, could avoid the filing of the
motion.” 1 This letter is in lieu of a filed response to the Complaint.

        The Complaint has the following fatal deficiencies: (1) lack of standing to sue for copyright
infringement of the musical composition “Made in America” (“Plaintiff’s Composition”); 2 (2)
failure to plead access or “substantial similarity” between the works at issue; and (3) improperly
including RCA Records (“RCA”) and Warner Music Group Corp. (“WMG”) as defendants.

I.      Plaintiff Lacks Standing to Sue for Copyright Infringement
       A copyright registration is an indispensable prerequisite for standing to sue for copyright
infringement. See 17 U.S.C. § 411(a); Fourth Estate Pub. Benefit Corp. v. Wall-Street.com, LLC,
139 S. Ct. 881, 887 (2019) (stating “registration is akin to an administrative exhaustion
requirement … before suing to enforce ownership rights”). Musical compositions, sound
recordings, and audiovisual works each require registration.

       Plaintiff cannot pursue infringement claims against Defendants without a valid registration.
The Complaint identifies only one registration, which is limited to an unpublished collection of
sound recordings. ECF No. 1, ¶ 5, Ex. B. That registration does not cover Plaintiff’s Composition.
See U.S. Copyright Circular 56A; Tuff-N-Rumble Mgmt., Inc. v. Sugarhill Music Publ’g Inc., 75
F. Supp. 2d 242, 247 (S.D.N.Y. 1999). Moreover, the sound recording embodying Plaintiff’s

1
    We represent all Defendants except for Roc Nation Publishing LLC and Songs of Universal, Inc.
2
 The Complaint does not allege that the music video for “This is America” (the “Challenged
Composition”) infringes Plaintiff’s music video. Nor can it be read to allege a sampling claim.
Such claims would nonetheless be dismissed for lack of a valid registration.
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Composition is excluded from that registration because it was not an unpublished composition
when the registration was filed or issued. See Family Dollar Stores, Inc. v. United Fabrics Int’l,
Inc., 896 F. Supp. 2d 223, 230 (S.D.N.Y. 2012); see also Palmer/Kane LLC v. Rosen Book Works
LLC, 188 F. Supp. 3d 347, 352 (S.D.N.Y. 2016). The Complaint alleges that a recording of
Plaintiff’s Composition was uploaded to SoundCloud and YouTube before registration. ECF No.
1, ¶¶ 4, 40, 41 (alleging commercial exploitation on the Internet in 2016). This conduct constitutes
publication. 17 U.S.C. § 101; Getaped.Com, Inc. v. Cangemi, 188 F. Supp. 2d 398 (S.D.N.Y. 2002)
(uploading content to Internet constitutes publication); see also Kernal Records Oy v. Mosley, 794
F. Supp. 2d 1355, 1364 (S.D. Fla. 2011) (music file published when posted on Internet).

II.     Plaintiff Has Not Alleged Access or Actionable Copying
        Copyright infringement requires copying of constituent elements of the work that are
original. Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991). Where no direct
evidence of actual copying exists, a plaintiff must allege access with facts sufficient to allow an
inference of copying. Here, Plaintiff’s allegation that his song was available “on major streaming
platforms for widespread public listening” fails to plead “access” as a matter of law. ECF No. 1, ¶
40; Clanton v. UMG Recordings, Inc., 20-cv-5841 (LJL), 2021 WL 3621784, at *3 (S.D.N.Y. Aug.
16, 2021) (dismissing claim because posting a song on the “internet is insufficient on its own to
show [access through] ‘wide dissemination’”).

       In addition, copying requires the works to be “substantially similar.” But under the
“ordinary observer” test – where a district court must compare the songs’ “total concept and overall
feel” without considering unprotectable expression the songs may share – the songs at issue lack
“substantial similarity” as a matter of law. Edwards v. Raymond, 22 F. Supp. 3d 293, 297-301
(S.D.N.Y. 2014). In applying the test, a plaintiff’s characterization of the songs is immaterial.

        The minimal alleged similarities between the songs at issue lack the requisite protectability.
The common proper noun “America” is unprotectable. McDonald v. West, 138 F. Supp. 3d 448,
456 (S.D.N.Y. 2015) (“Made in America” not protectible); 37 C.F.R. § 202.1(a). Likewise, any
alleged similarity in the cadence/rhythm of the lyrical/rap delivery – such as the alleged use of
“triplets” – is also unprotectable. Morrill v. Stefani, 338 F. Supp. 3d 1051, 1061 (C.D. Cal. 2018);
Rose v. Hewson, No. 17cv1471 (DLC), 2018 WL 626350, at *7 (S.D.N.Y. Jan. 30, 2018). Aside
from these unprotectable similarities, there is nothing to support Plaintiff’s copyright claim.

       Indeed, the music is different in each song at issue. As any lay listener will observe, the
Challenged Composition’s music is unlike Plaintiff’s Composition. Plaintiff entirely raps his song
in a C# minor key in a faster tempo. The Challenged Composition contains rapping and singing
by multiple performers, is primarily in F major, and has a slower tempo. The differences in the
production and instrumentals also reflect different concepts and overall feels.

       In addition, the structure of each song is substantially different. Plaintiff’s Composition has
an intro, outro, and two verses that are sandwiched between choruses. The Challenged
Composition has an intro, two verses that are preceded by both a pre-chorus and chorus, a final
pre-chorus and an outro.
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        Furthermore, themes and ideas are not protectable as a matter of law, and here, other than
a reference to the generic lyric “America,” the themes of each song, and their lyrics, are entirely
dissimilar. Plaintiff’s Composition is a short, simple, self-aggrandizing proclamation, with
Plaintiff stating repeatedly: “I’m made in America.” His mantra alerts rappers of Plaintiff’s arrival
(“2016 rappers? (Yeah”) You should beware of this”), and his success (“I’m running the city …
I’m making a milestone … You hearing my name though? Well don’t wear it out … I’m killing
the game … I somersault the flow, pick up any ho / On any street).

        In contrast, the Challenged Composition is not about a rapper’s arrival/success, but is a
complex clashing of the American landscape, anchored to the common phrase “This is America.”
It references facets of America, such as having fun and making money (“We just wanna party /
Party just for you / We just want the money / Money just for you”); police misconduct (“Police be
trippin’ now”); gun culture (“Guns in my area … / I got the strap (ayy, ayy) / I gotta carry ’em”);
materialism (“I’m so fitted … I’m on Gucci”); race and familial truth-telling (“Grandma told me /
Get your money, Black man …”); and drugs (“Contraband, contraband, contraband … I got the
plug in Oaxaca”). The works share no protectable expression and are not substantially similar.

III.   The Contributory and Vicarious Infringement Claims Are Not Plausible
       Because no plausible direct copyright infringement claim exists, Plaintiff’s claims for
contributory and vicarious infringement cannot survive a motion to dismiss. Alexander v.
Murdoch, No. 10 Civ. 5613(PAC)(JCF), 2011 WL 2802899, at *17 (S.D.N.Y. May 27, 2011).
Additionally, the allegations for those claims are conclusory and thus fail to state plausible claims.
Compare ECF No. 1, ¶¶ 86-87 with Hartmann v. Amazon.com, Inc., 20 Civ. 4928 (PAE), 2021
WL 3683510, at *9 (S.D.N.Y. Aug. 19, 2021) (dismissing conclusory vicarious liability claims).

IV.    RCA and WMG Are Improper Parties
       Plaintiff has improperly sued RCA, a business unit of Defendant Sony Music
Entertainment (“SME”). RCA lacks a separate corporate existence and thus cannot be sued.
Because claims against RCA are claims against SME, RCA is an improper party and should be
dismissed. See Currin v. Williams, Case. No. 3:07-CV-1069(RNC), 2009 WL 10676977 (D. Conn.
May 12, 2009) (sustaining dismissal of “RCA Records Label” because it is a business unit, not a
separate corporate entity, finding “claims … against RCA are in fact claims against Sony BMG”).

      Plaintiff also improperly sued WMG, the indirect corporate parent of Defendants Atlantic
Recording Corporation and Warner-Tamerlane Publishing Corp. WMG has no interest in the
Challenged Composition. Also, the allegations against WMG are conclusory, mandating its
dismissal. ECF No. 1, ¶ 27 (alleging WMG “has assisted in and/or directly facilitated” various acts
and “caused copies” to be exploited). Cohen v. Hertz Corp., No. 13 Civ. 1205(LTS)(AJP), 2013
WL 9450421, at *5 n.7 (S.D.N.Y. Nov. 26, 2013) (dismissing corporate parents which were not
alleged to be “responsible for the wrongdoings that [plaintiff] suffered”); see also Hartmann, 2021
WL 3683510, at *9.
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Imran H. Ansari, Esq.
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                                                 Very truly yours,

                                                 /s/ Jonathan D. Davis

                                                 Jonathan D. Davis

JDD:hs

cc: The Honorable Victor Marrero (Via Fax)
    Paul Maslo, Esq. (Via Email/PDF)
    Alex Spiro, Esq. (Via Email/PDF)
    Donald S. Zakarin, Esq. (Via Email/PDF)
    Ilene S. Farkas, Esq. (Via Email/PDF)
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                                                                                                Ilene S. Farkas
                                                                                                            Partner

                                                                                           Direct Tel: 212-326-0188
                                                                                           Direct Fax: 212-798-6382
                                                                                   IFarkas@PRYORCASHMAN.com


                                                   December 22, 2021



VIA E-MAIL

Imran H. Ansari, Esq.
Aidala, Bertuna & Kamins, P.C.
546 Fifth Avenue
New York, New York 10036

           Re:    Nwosuocha v. Glover, et al. (Civ. Action No. 21-cv-04047)

Dear Mr. Ansari:

           We represent Songs of Universal, Inc. in the above-referenced action.

        We write to you on behalf of our client and pursuant to Paragraph II.B. of the Individual
Practices of The Honorable U.S. District Judge Victor Marrero. We have reviewed the letter of
Jonathan Davis of today’s date on behalf of the remaining defendants, and our client hereby
incorporates by reference and joins in the reasons stated therein that “would warrant dismissal
and that, if properly rectified, could avoid the filing of the motion.” This letter is in lieu of a
response to the Complaint at this time pursuant to the Judge’s Rules.

                                                   Sincerely,



                                                   Ilene S. Farkas



cc:       The Honorable Victor Marrero (via fax 212-805-6382)
          Paul Maslo, Esq. (via email)
          Alex Spiro, Esq. (via email)
          Donald S. Zakarin, Esq. (via email)
          Jonathan D. Davis, Esq. (via email)




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                                                                                                 WRITER’S DIRECT DIAL NO.
                                                                                                           (214) 447-0066

                                                                                                WRITER’S EMAIL ADDRESS
                                                                                           paulmaslo@quinnemanuel.com




December 22, 2021


VIA EMAIL AND FEDEX
Imran H. Ansari
Aidala, Bertuna & Kamins, P.C.
546 Fifth Avenue, 6th Floor
New York, NY 10036

Re:    Nwosuocha v. Glover, et al., No. 21-cv-04047-VM

Dear Mr. Ansari:

        We represent Roc Nation Publishing LLC (“Roc Nation”). Pursuant to Section II(B) of the
Individual Practices of United States District Judge Victor Marrero, we write to “set[] forth the
. . . pleading deficiencies in the complaint and other reasons or controlling authorities that
defendant contends would warrant dismissal[.]” Specifically, Roc Nation adopts and incorporates
by reference the arguments made in the December 22, 2021 pre-motion letter of Jonathan D. Davis,
submitted on behalf of other Defendants.

Sincerely,

/s/ Paul B. Maslo

Paul B. Maslo


cc:    The Honorable Victor Marrero (via fax)
       Counsel for all parties (via email)




             quinn emanuel urquhart & sullivan, llp
             AUSTIN | BOSTON | BRUSSELS | CHICAGO | HAMBURG | HONG KONG | HOUSTON | LONDON | LOS ANGELES | MANNHEIM | MUNICH |
             NEUILLY-LA DEFENSE | NEW YORK | PARIS | PERTH | SALT LAKE CITY | SAN FRANCISCO | SEATTLE | SHANGHAI | SILICON VALLEY |
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                                                             January 12, 2022
VIA EMAIL
Jonathan D. Davis, Esq.
Jonathan D. Davis, P.C.
10 Rockefeller Plaza, Suite 1015
New York, New York 10020

       Re:     Nwosuocha v. Glover II et al., No. 1:21-cv-04047-VM

Dear Mr. Davis:

       I write on behalf of my client in response to your December 22, 2021, pre-motion letter
served in lieu of a filed response to the Complaint pursuant to paragraph II.B of Judge Marrero’s
Individual Rules (“Pre-Motion Letter”), which was joined by all Defendants to this action.

        The Pre-Motion letter asserts the following as “fatal deficiencies” in the Complaint: (1) a
lack of standing to sue for copyright infringement of the musical composition “Made in America”
(“Plaintiff’s Composition”); (2) failure to plead access or “substantial similarity” between the
works at issue; and (3) improperly including RCA Records (“RCA”) and Warner Music Group
Corp. (“WMG”) as defendants. For the reasons that follow, Plaintiff disagrees with your
characterization of these as deficiencies in the Complaint, much less “fatal” deficiencies that
“would warrant dismissal.”

I.      Plaintiff Has Standing to Sue for Copyright Infringement
        The Pre-Motion Letter’s first erroneously alleged “fatal deficiency” in the Complaint is the
Plaintiff’s purported lack of standing to sue for copyright infringement. The flawed premise of this
point is that Plaintiff’s copyright registration does not cover Plaintiff’s Composition due to the
registration’s designation as pertaining to a “sound recording” that is “unpublished.” Defendants’
reasoning appears to neglect that the U.S. Copyright Office allows compositional registrations to
subsume into “sound recording” registrations, and that the mere act of uploading a song to
SoundCloud or YouTube prior to registration does not fall within the U.S. Copyright Office’s
definition of “publication” for the purposes of registration.

       The U.S. Copyright Office permits unpublished sound recordings and their underlying
compositions to be registered simultaneously under the “Sound Recording” designation, pursuant
to Copyright Office Circular 56A. Per official Copyright Office guidance, one can accomplish
such simultaneous registration where: (a) the claimant is the author of both the sound recording
and the work embodied in the recording, or the owner of the copyright in both; (b) the claimant



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          checks “Sound Recording” under the “Author Created” section of the registration, or uses the Form
          SR (as in “Sound Recording”) if submitting a paper application; and (c) the claimant submits a
          phonorecord containing both the sound recording and the musical composition embodied in that
          recording. See Copyright Office Circular 56A. Plaintiff’s registration satisfied all three of these
          criteria, and thus represents a correctly submitted simultaneous registration of both the sound
          recordings in the collection and their respective underlying musical compositions, including
          Plaintiff’s Composition.

                   Furthermore, Plaintiff’s Composition was not “published” for the purposes of copyright
          registration by sheer virtue of having been uploaded to SoundCloud and YouTube prior to
          registration. Copyright Office Circular 66 instructs that streaming is a performance that, in and of
          itself, does not constitute publication “because, as a practical matter, the end user does not retain
          a copy of the work when the performance ends.” See Copyright Office Circular 66. Defendants
          fail to raise a “fatal deficiency” in this regard by citing authority standing precisely for the
          proposition that digital publication of a work requires offering end users a retainable copy of the
          work. See Getaped.Com, Inc. v. Cangemi, 188 F. Supp. 2d 398, 402 (S.D.N.Y. 2002) (holding
          webpage’s source code published where, “by merely accessing a webpage, an Internet user
          acquires the ability to make a copy of that webpage . . . that is, in fact, indistinguishable in every
          part from the original.”); Kernal Records Oy v. Mosley, 794 F. Supp. 2d 1355 (holding a song
          published where creator admitted uploading the song to an internet magazine and making it
          available for download).

          II.     Plaintiff Has Alleged Access and Actionable Copying
                  The Pre-Motion Letter erroneously alleges that Plaintiff has failed to plead the element of
          access as a matter of law. The premise of the Pre-Motion Letter’s mistaken point in this regard is
          that the Complaint’s assertion of widespread public access to Plaintiff’s Composition on major
          streaming platforms is insufficient to make out access. However, this argument neglects that the
          Second Circuit permits a showing of striking similarity as a substitute for proof of access. See
          Jorgensen v. Epic/Sony Recs., 351 F.3d 46, 56 (2d Cir. 2003)(“We have held that where the works
          in question are ‘so strikingly similar as to preclude the possibility of independent creation, copying
          may be proved without a showing of access.’”)(quoting Lipton v. Nature Co., 71 F.3d 464, 471
          (2d Cir.1995)).

                  Plaintiff has plead the striking similarity between the subject songs with requisite
          specificity, offering a musicological scientific analysis of such similarity by Dr. Brent Swanson of
          the University of Miami. On the basis of scientifically recognized methods of musicological
          analysis including, but not limited to, spectral analysis of both songs, Dr. Swanson concludes that
          the songs are similar to an extent unlikely to be coincidence. See Swanson Report (ECF No. 1-4)
          at 10-17. Plaintiff asserts that these objectively measurable similarities are readily presentable to
          and audible by lay persons. Defendants do not, as a matter of law, defeat Plaintiff’s well-plead,
          specific allegations of scientifically-corroborated striking similarities between the songs simply by
          making conclusory allegations that “any lay listeners will observe” to the contrary.




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          III.     WMG Is a Proper Party
                   Defendants concede in the Pre-Motion Letter that Defendant WMG is the corporate parent
          of Defendants Atlantic Recording Corporation and Warner-Tamerlane Publishing Corp., but allege
          that WMG nonetheless has no interest in the Challenged Composition. Defendants further allege
          that Plaintiff’s pleading as against WMG is conclusory, and do so by selectively citing only the
          extent of Plaintiff’s Complaint alleging that WMG “has assisted in and/or directly facilitated” the
          infringement. In this regard, Defendants omit the extent of the Complaint alleging that WMG is
          vicariously liable because, as the parent corporation to entities directly responsible for distributing
          the infringing Challenged Composition, “Defendant WMG has derived substantial revenues and/or
          profits from the exploitation of the Infringing Work” and “had the right and ability to control other
          infringers.” ECF. No. 1 ¶ 27, 87. This Circuit has long recognized that vicarious copyright
          infringement liability may be premised on a party’s status as a beneficiary of an infringing act and
          its ability to control an infringer, and Plaintiff has accordingly sufficiently plead WMG’s vicarious
          liability on the basis of its ability to control its infringing subsidiaries and the benefits it has derived
          from the Challenged Composition. See Shapiro, Bernstein & Co. v. H. L. Green Co., 316 F.2d 304,
          307 (2d Cir. 1963)(“When the right and ability to supervise coalesce with an obvious and direct
          financial interest in the exploitation of copyrighted materials—even in the absence of actual
          knowledge that the copyright [] is being impaired—the purposes of copyright law may be best
          effectuated by the imposition of liability upon the beneficiary of that exploitation.”)(internal
          citations omitted).

                 Furthermore, RCA is the record label entity to which Defendant Glover is signed and
          through which the Challenged Composition was produced, distributed, marketed, and promoted,
          amongst other things. Despite Defendants assertions concerning the nature of RCA’s corporate
          existence, RCA has interposed answers on its own behalf alongside Sony Music Entertainment
          (“SME”) in copyright infringement suits naming both entities as defendants and postdating RCA’s
          reported merger with SME, including in Yours, Mine and Ours Music v. Sony Music
          Entertainment, et al., No. 2:16-cv-08056 (C.D. Cal. 2016). As such, Defendant RCA is a properly
          named party at this stage of the action in addition to Defendant WMG.

                                                                    Very Truly Yours,

                                                                    AIDALA, BERTUNA & KAMINS, P.C.

                                                           By:      /s/ Imran H. Ansari
                                                                    Imran H. Ansari, Esq.
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          cc:     The Honorable Victor Marrero (Fax)
                  Paul Maslo, Esq. (Email)
                  Alex Spiro, Esq. (Email)
                  Donald S. Zakarin, Esq. (Email)
                  Ilene S. Farkas, Esq. (Email)

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                                                              January 18, 2022
VIA FIRST-CLASS MAIL/EMAIL/PDF
Imran H. Ansari, Esq.
Aidala, Bertuna & Kamins, P.C.
546 Fifth Avenue
New York, New York 10036

       Re: Nwosuocha v. Glover, et al. (Civ. Action No. 21-cv-04047)

Dear Mr. Ansari:

        We write on behalf of all Defendants in response to your January 12, 2022 letter and in
furtherance of the procedures described in Paragraph II.B. of Judge Marrero’s Individual Practices.
For the reasons set out below, and in our prior letter, we urge your client to reconsider pursuing
his baseless copyright infringement claims, as continuing to pursue them will likely subject him to
the payment of Defendants’ reasonable attorney’s fees and costs under 17 U.S.C. § 505.

       Addressing your client’s technical standing problem, your response to Plaintiff’s lack of
standing, including your argument that his registration for a collection of purportedly unpublished
sound recordings also covers his purported copyright in the composition at issue misunderstands
copyright registration requirements. While Form SR may be used to register copyright claims in
both a sound recording and an underlying musical work, obtaining coverage for both works
requires a description of the “Nature of Authorship” that explicitly covers each separate work.

       Indeed, Form SR explains in its “LINE-BY-LINE INSTRUCTIONS” the descriptions
needed to encompass both works in a sound recording registration:

           Nature of Authorship: Sound recording authorship is the performance,
           sound production, or both, that is fixed in the recording deposited for
           registration. Describe this authorship in space 2 as “sound recording.”
           If the claim also covers the underlying work(s), include the appropriate
           authorship terms for each author, for example, “words,” “music,”
           “arrangement of music,” or “text.”

Form SR (rev. 05/2019) (the current version) (emphasis added); see also Form SR (rev.12/2016)
(same); and Form SR (rev. 05/2012) (same). Copies are attached. U.S. Copyright Circular 56A
also makes this point clear by using a chart and showing that if the application seeks to register the
musical composition and the sound recording, then the description of what the author created must
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Imran H. Ansari, Esq.
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reflect both works. U.S. COPYRIGHT OFFICE, CIRCULAR NO. 56A. Copyright Registration of
Musical      Compositions       and        Sound      Recordings        (2021),       available     at
https://www.copyright.gov/circs/circ56a.pdf, at 2. In addition, Circular 56A explains that
“[c]opyright in a sound recording is not the same as, or a substitute for, copyright in the underlying
musical composition” and that “[t]o register a single claim in both works, [an applicant must] give
information about the author(s) of both the musical composition and the sound recording.” Id. at
1.

        Because Plaintiff’s Certificate of Registration limits his authorship to “sound recording”
without the additional description needed to claim a copyright in the musical composition, such as
“words,” “music,” or “words and music”, the registration, at most, can only protect the sound
recording for “Made in America.” To pursue an infringement claim concerning a “composition,”
the registration must reflect, in accordance with the above requirements, that it specifically covers
the composition. Here, the registration is silent regarding that particular work.

         But the sound recording for “Made in America” is not at issue in this case because your
client has not alleged – and cannot allege – a sampling claim. The claim here is not that the sound
recording of Plaintiff’s work was duplicated by the sound recording of “This is America.” There
is no dispute that it is not. What purportedly is at issue is Plaintiff’s composition – a work that is
not currently protected by a copyright registration. You may be under the misimpression that one
can register a copyright in a musical composition by submitting a sound recording to the Copyright
Office as the deposit copy for a sound recording application. But that is incorrect and it does not
satisfy the requirements of the Copyright Office.

        Because there is no copyright claim regarding your client’s “sound recording,” the issue of
whether the “Made in America” sound recording has been published is immaterial to your client’s
purported infringement claims. Nevertheless, and purely to address here a non-relevant issue of
copyright law, we disagree with your contention that a work is only published if a copy can be
retained by the user. The Copyright Act’s definition of publication is not circumscribed in the
manner you contend in your letter. See 17 U.S.C. § 101 (stating publication includes “offering to
distribute … phonorecords to a group of persons for purposes of further distribution, public
performance, or public display”).

        The example you cite from Circular 66, titled “Copyright Registration of Websites and
Website Content,” addresses a work “made available only by streaming” and provides that
streaming “in and of itself” does not constitute publication. U.S. COPYRIGHT OFFICE, CIRCULAR
NO. 66. Copyright Registration of Website and Website Content (2021), available at
https://www.copyright.gov/circs/circ66.pdf, at 5. But the Complaint alleges more than just
streaming “in and of itself.” It alleges that phonorecords were offered to multiple on-line services
for public display/performance, which acts “constitute[] publication.” 17 U.S.C. § 101; see also
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U.S. COPYRIGHT OFFICE, COMPENDIUM OF U.S. COPYRIGHT OFFICE PRACTICES §1906.1 (3d ed.
2021) (explaining publication occurs when, for example, a movie is offered to groups of theaters
or TV networks for exhibition or broadcasting, or phonorecords are offered to radio stations for
purpose of broadcasting songs and sound recordings embodied therein). In any event, when
Plaintiff uploaded his recording of “Made in America” to SoundCloud, the service permitted users
to copy and download songs for use offline. See Introducing SoundCloud Go, SOUNDCLOUD,
https://blog.soundcloud.com/2016/03/29/introducing-soundcloud-go/ (last visited Jan. 18, 2022)
(introducing SoundCloud Go on March 29, 2016, a service that provides users the ability to “listen
offline … without a cell signal or internet connection” so that “[w]hether you’re down in the
subway, 30-thousand feet overhead or completely off the grid, with SoundCloud Go, you’ll have
access to all your favorites offline”) (emphasis in original). So even if publication under the
Copyright Act requires a user’s ability to copy and retain a recording – which it does not – any
such requirement has been satisfied here.

        Turning to the substance of your infringement claim, your response to Plaintiff’s failure to
allege access misses the point. Plaintiff cannot simply rely on his allegations that the works at issue
are “strikingly similar,” when any lay listener could readily determine they are neither “strikingly
similar” nor “substantially similar.” Perhaps you believe that offering a conclusory assertion of
striking similarity will enable Plaintiff to avoid a dismissal at the outset of a case. That is a
mistaken view. Plaintiff has made no showing that the works at issue share any actionable
similarity – let alone a striking similarity – and the copyright law does not forgive establishing
“access” merely by alleging striking similarity. There still must be a reasonable basis for access
and, as a matter of law, there is none here. In any event, any characterization of the works by
counsel, or a purported expert, cannot change what is observable by a lay person who listens to
the works. The works control the analysis, not a description by Plaintiff, his counsel, or anyone
else. See Peter F. Gaito Architecture, LLC v. Simone Dev. Corp., 602 F.3d 57, 64 (2d Cir. 2010)
(stating “[i]n copyright infringement actions, the works themselves supersede and control contrary
descriptions of them, including any contrary allegations, conclusions or descriptions of the works
contained in the pleadings”).

        Your response to our argument for dismissal of WMG is unavailing. WMG is the indirect
corporate parent of Defendants Atlantic Recording Corporation and Warner-Tamerlane Publishing
Corp. WMG has no ownership in the challenged composition. Moreover, Plaintiff’s allegations
against WMG are conclusory and do not support any copyright infringement claim against an
indirect parent company.

        Finally, we do not understand your refusal to drop RCA from the case. RCA is not an
entity, but an unincorporated business unit owned directly by SME, i.e., there are no intervening
layers of ownership between RCA and SME. In the case identified in your letter, Yours, Mine and
Ours Music v. Sony Music Entertainment, 16-cv-08056-RSWL-SK (C.D. Cal. filed Oct. 28, 2016),
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RCA Records was incorrectly sued as “RCA Records, Inc.” The lawsuit was voluntarily dismissed.
So, the mere filing of that Answer is not indicative of whether RCA is a proper party here, which
it is not.

        Because your client has no standing or meritorious claims against Defendants, we urge
Plaintiff to promptly withdraw this lawsuit before Defendants incur additional attorney’s fees and
costs that will be pursued against him.

                                                            Very truly yours,

                                                            /s/ Jonathan D. Davis

                                                            Jonathan D. Davis

JDD:hs

cc: Paul Maslo, Esq.
    Alex Spiro, Esq.
    Donald S. Zakarin, Esq.
    Ilene S. Farkas, Esq.
    (All Via Email/PDF)
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4 Form SR       Detach and read these instructions before completing this form.
                Make sure all applicable spaces have been filled in before you return this form.

                                                                           BASIC INFORMATION

When to Use This Form: Use Form SR for registration of published or unpublished                 Contribution to a Collective Work: Deposit one complete phonorecord of the best
sound recordings. Form SR should be used when the copyright claim is limited to the          edition of the collective work.
sound recording itself, and it may also be used where the same copyright claimant is
seeking simultaneous registration of the underlying musical, dramatic, or literary work      The Copyright Notice: Before March 1, 1989, the use of copyright notice was man-
embodied in the phonorecord.                                                                 datory on all published works, and any work first published before that date should
   With one exception, “sound recordings” are works that result from the fixation of a       have carried a notice. For works first published on and after March 1, 1989, use of
series of musical, spoken, or other sounds. The exception is for the audio portions of       the copyright notice is optional. For more information about copyright notice, see
audiovisual works, such as a motion picture soundtrack or an audio cassette accom-           Copyright Notice (Circular 3).
panying a filmstrip. These are considered a part of the audiovisual work as a whole.
                                                                                             For Further Information: To speak to a Copyright Office staff member, call
Unpublished works: This form may be used to register one unpublished work. This              (202) 707-3000 or 1-877-476-0778. Recorded information is available 24 hours a day.
form cannot be used to register a “collection” of two or more unpublished works. Any         Order forms and other publications from Library of Congress, Copyright Office-
paper application submitted with more than one unpublished work may be refused.              COPUBS, 101 Independence Avenue SE, Washington, DC 20559 or call (202) 707-9100
To register multiple unpublished works, you must use the online application for              or 1-877-476-0778 (toll free). Access and download circulars and other information
“A Group of Unpublished Works.” For information about the online application, see            from the Copyright Office website at www.copyright.gov.
Multiple Works (Circular 34).
                                                                                               PRIVACY ACT ADVISORY STATEMENT Required by the Privacy Act o 1974 (P.L. 93-579)
Deposit to Accompany Application: An application for copyright registration must                      he authority or requesting this in ormation is title 17 U S C §409 and §410 urnishing the
be accompanied by a deposit consisting of phonorecords representing the entire work            requested in ormation is voluntary But i the in ormation is not urnished, it may be necessary to delay
                                                                                               RU UH XVH UHJLVWUDWLRQ DQG \RX PD\ QRW EH HQWLWOHG WR FHUWDLQ UHOLH  UHPHGLHV DQG EHQHÀWV SURYLGHG
for which registration is to be made.                                                          LQ FKDSWHUV  DQG  R WLWOH  8 6 &
   Unpublished Work: Deposit one complete phonorecord.                                                KH SULQFLSDO XVHV R WKH UHTXHVWHG LQ RUPDWLRQ DUH WKH HVWDEOLVKPHQW DQG PDLQWHQDQFH R D
   Published Work: Deposit two complete phonorecords of the best edition,                      SXEOLF UHFRUG DQG WKH H[DPLQDWLRQ R WKH DSSOLFDWLRQ RU FRPSOLDQFH ZLWK WKH UHJLVWUDWLRQ UHTXLUH-
                                                                                               PHQWV R WKH FRS\ULJKW FRGH
together with “any printed or other visually perceptible material” published with the               2WKHU URXWLQH XVHV LQFOXGH SXEOLF LQVSHFWLRQ DQG FRS\LQJ SUHSDUDWLRQ R SXEOLF LQGH[HV SUHSDUD-
phonorecords.                                                                                  WLRQ R SXEOLF FDWDORJV R FRS\ULJKW UHJLVWUDWLRQV DQG SUHSDUDWLRQ R VHDUFK UHSRUWV XSRQ UHTXHVW
                                                                                                    12 ( 1R RWKHU DGYLVRU\ VWDWHPHQW ZLOO EH JLYHQ LQ FRQQHFWLRQ ZLWK WKLV DSSOLFDWLRQ 3OHDVH NHHS
   Work First Published Outside the United States: Deposit one complete phonore-               WKLV VWDWHPHQW DQG UH HU WR LW L ZH FRPPXQLFDWH ZLWK \RX UHJDUGLQJ WKLV DSSOLFDWLRQ
cord of the first foreign edition.


                                                                    LINE-BY-LINE INSTRUCTIONS
                                      Please type or print using black ink. The form is used to produce the certificate.

                                                                                              specially ordered or commissioned for use as a contribution to a collective work, as a

  1       SPACE 1: Title
             Title of This Work: Every work submitted for copyright registration must
                                                                                              part of a motion picture or other audiovisual work, as a translation, as a supplemen-
                                                                                              tary work, as a compilation, as an instructional text, as a test, as answer material for a
                                                                                              test, or as an atlas, if the parties expressly agree in a written instrument signed by them
 be given a title to identify that particular work. If the phonorecords or any accom-         that the work shall be considered a work made for hire.” If you have checked “Yes” to
 panying printed material bears a title (or an identifying phrase that could serve as a       indicate that the work was “made for hire,” you must give the full legal name of the
 title), transcribe that wording completely and exactly on the application. Indexing of       employer (or other person for whom the work was prepared). You may also include
 the registration and future identification of the work may depend on the information         the name of the employee along with the name of the employer (for example: “Elster
 you give here.                                                                               Record Co., employer for hire of John Ferguson”).
     Previous, Alternative, or Contents Titles: Complete this space if there are any            “Anonymous” or “Pseudonymous” Work: An author’s contribution to a work is
 previous or alternative titles for the work under which someone searching for the           “anonymous” if that author is not identified on the copies or phonorecords of the work.
 registration might be likely to look, or under which a document pertaining to the            An author’s contribution to a work is “pseudonymous” if that author is identified on
 work might be recorded. You may also give the individual contents titles, if any, in         the copies or phonorecords under a fictitious name. If the work is “anonymous” you
 this space or you may use a Continuation Sheet (Form CON). Circle the term that              may: (1) leave the line blank; or (2) state “anonymous” on the line; or (3) reveal the
 describes the titles given.                                                                  author’s identity. If the work is “pseudonymous” you may: (1) leave the line blank;
                                                                                              or (2) give the pseudonym and identify it as such (for example: “Huntley Haverstock,
                                                                                              pseudonym”); or (3) reveal the author’s name, making clear which is the real name and

  2 SPACE 2: Author(s)
              General Instructions: After reading these instructions, decide who are the
                                                                                              which is the pseudonym (for example: “Judith Barton, whose pseudonym is Madeline
                                                                                              Elster”). However, the citizenship or domicile of the author must be given in all cases.
                                                                                                  Dates of Birth and Death: If the author is dead, the statute requires that the year of
“authors” of this work for copyright purposes. Then, unless the work is a “collective         death be included in the application unless the work is anonymous or pseudonymous.
 work,” give the requested information about every “author” who contributed any               The author’s birth date is optional, but is useful as a form of identification. Leave this
 appreciable amount of copyrightable matter to this version of the work. If you need          space blank if the author’s contribution was a “work made for hire.”
 further space, use additional Continuation Sheets. In the case of a collective work such        Author’s Nationality or Domicile: Give the country in which the author is a citi-
 as a collection of previously published or registered sound recordings, give information     zen, or the country in which the author is domiciled. Nationality or domicile must be
 about the author of the collective work as a whole. If you are submitting this Form SR       given in all cases.
 to cover the recorded musical, dramatic, or literary work as well as the sound recording         Nature of Authorship: Sound recording authorship is the performance, sound pro-
 itself, it is important for space 2 to include full information about the various authors    duction, or both, that is fixed in the recording deposited for registration. Describe this
 of all of the material covered by the copyright claim, making clear the nature of each       authorship in space 2 as “sound recording.” If the claim also covers the underlying
 author’s contribution.                                                                       work(s), include the appropriate authorship terms for each author, for example, “words,”
     Name of Author: The fullest form of the author’s name should be given. Unless the       “music,” “arrangement of music,” or “text.”
 work was “made for hire,” the individual who actually created the work is its “author.”          Generally, for the claim to cover both the sound recording and the underlying
 In the case of a work made for hire, the statute provides that “the employer or other        work(s), every author should have contributed to both the sound recording and the
 person for whom the work was prepared is considered the author.”                             underlying work(s). If the claim includes artwork or photographs, include the appro-
     What Is a “Work Made for Hire”? A “work made for hire” is defined as: (1) “a work        priate term in the statement of authorship.
 prepared by an employee within the scope of his or her employment”; or (2) “a work
                                                           72-1
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                                                              Changed Version: If the work has been changed and you are now seeking registra-

 3 SPACE 3: Creation and Publication
            General Instructions: Do not confuse “creation” with “publication.” Every
                                                                                                tion to cover the additions or revisions, check the last box in space 5, give the earlier
                                                                                                registration number and date, and complete both parts of space 6 in accordance with
                                                                                                the instructions below.
application for copyright registration must state “the year in which creation of the               Previous Registration Number and Date: If more than one previous registration
work was completed.” Give the date and nation of first publication only if the work             has been made for the work, give the number and date of the latest registration.
has been published.
    Creation: Under the statute, a work is “created” when it is fixed in a copy or pho-
norecord for the first time. If a work has been prepared over a period of time, the part
of the work existing in fixed form on a particular date constitutes the created work on
that date. The date you give here should be the year in which the author completed the
                                                                                                 6 SPACE 6: Derivative Work or Compilation
                                                                                                           General Instructions: Complete space 6 if this work is a “changed version,”
particular version for which registration is now being sought, even if other versions          “compilation,” or “derivative work,” and if it incorporates one or more earlier works that
exist or if further changes or additions are planned.                                           have already been published or registered for copyright, or that have fallen into the
    Publication: The statute defines “publication” as “the distribution of copies or pho-       public domain, or sound recordings that were fixed before February 15, 1972. A “com-
norecords of a work to the public by sale or other transfer of ownership, or by rental,         pilation” is defined as “a work formed by the collection and assembling of preexisting
lease, or lending”; a work is also “published” if there has been an “offering to distrib-       materials or of data that are selected, coordinated, or arranged in such a way that the
ute copies or phonorecords to a group of persons for purposes of further distribution,          resulting work as a whole constitutes an original work of authorship.” A “derivative
public performance, or public display.” Give the full date (month, date, year) when, and        work” is “a work based on one or more preexisting works.” Examples of derivative
the country where, publication first occurred. If first publication took place simultane-       works include recordings reissued with substantial editorial revisions or abridgments
ously in the United States and other countries, it is sufficient to state “U.S.A.”              of the recorded sounds, and recordings republished with new recorded material, or “any
                                                                                                other form in which a work may be recast, transformed, or adapted.” Derivative works
                                                                                                also include works “consisting of editorial revisions, annotations, or other modifica-

 4 SPACE 4: Claimant(s)
          Name(s) and Address(es) of Copyright Claimant(s): Give the name(s) and
                                                                                                tions” if these changes, as a whole, represent an original work of authorship.
                                                                                                    Preexisting Material (space 6a): Complete this space and space 6b for derivative
                                                                                                works. In this space identify the preexisting work that has been recast, transformed,
address(es) of the copyright claimant(s) in the work even if the claimant is the same           or adapted. The preexisting work may be material that has been previously published,
as the author. Copyright in a work belongs initially to the author of the work (includ-         previously registered, or that is in the public domain. For example, the preexisting
ing, in the case of a work made for hire, the employer or other person for whom the             material might be: “1970 recording by Sperryville Symphony of Bach Double Concerto.”
work was prepared). The copyright claimant is either the author of the work or a                    Material Added to This Work (space 6b): Give a brief, general statement of the
person or organization to whom the copyright initially belonging to the author has              additional new material covered by the copyright claim for which registra-
been transferred.                                                                               tion is sought. In the case of a derivative work, identify this new material.
    Transfer: The statute provides that, if the copyright claimant is not the author,           Examples: “Recorded performances on bands 1 and 3”; “Remixed sounds from original
the application for registration must contain “a brief statement of how the claimant            multitrack sound sources”; “New words, arrangement, and additional sounds.” If the
obtained ownership of the copyright.” If any copyright claimant named in space 4a is            work is a compilation, give a brief, general statement describing both the material that
not an author named in space 2, give a brief statement explaining how the claimant(s)           has been compiled and the compilation itself. Example: “Compilation of 1938 record-
obtained ownership of the copyright. Examples: “By written contract”; “Transfer of all          ings by various swing bands.”
rights by author”; “Assignment”; “By will.” Do not attach transfer documents or other


                                                                                                7,8,9 SPACE
attachments or riders.
                                                                                                             7, 8,9: Fee, Correspondence,

 5 SPACE 5: Previous Registration
                                                                                                      &HUWLÀFDWLRQ 5HWXUQ $GGUHVV
                                                                                                Deposit Account: If you maintain a deposit account in the Copyright Office, identify
           General Instructions: The questions in space 5 are intended to show whether          it in space 7a. Otherwise, leave the space blank and send the filing fee with your appli-
an earlier registration has been made for this work and, if so, whether there is any basis      cation and deposit. (See space 8 on form.) Note: Copyright Office fees are subject to
for a new registration. As a rule, only one basic copyright registration can be made for        change. For current fees, check the Copyright Office website at www.copyright.gov, write
the same version of a particular work.                                                          the Copyright Office, or call (202) 707-3000 or 1-877-476-0778 (toll free).
   Same Version: If this version is substantially the same as the work covered by a pre-            Correspondence (space 7b): Give the name, address, area code, telephone number,
vious registration, a second registration is not generally possible unless: (1) the work has    fax number, and email address (if available) of the person to be consulted if correspon-
been registered in unpublished form and a second registration is now being sought to            dence about this application becomes necessary.
cover this first published edition; or (2) someone other than the author is identified as           Certification (space 8): This application cannot be accepted unless it bears the date
copyright claimant in the earlier registration and the author is now seeking registration       and the signature of the author or other copyright claimant, or the owner of exclusive
in his or her own name. If either of these two exceptions applies, check the appropri-          right(s), or the duly authorized agent of the author, claimant, or owner of exclusive
ate box and give the earlier registration number and date. Otherwise, do not submit             right(s).
Form SR. Instead, write the Copyright Office for information about supplementary                    Address for Return of Certificate (space 9): The address box must be completed
registration or recordation of transfers of copyright ownership.                                legibly since the certificate will be returned in a window envelope.


                                                                             MORE INFORMATION

   “Works”: “Works” are the basic subject matter of copyright; they are what authors           Should You File More Than One Application?
create and copyright protects. The statute draws a sharp distinction between the “work”
and “any material object in which the work is embodied.”                                       If your work consists of a recorded musical, dramatic, or literary work and if both that
   “Copies” and “Phonorecords”: These are the two types of material objects in which           “work” and the sound recording as a separate “work” are eligible for registration, the
“works” are embodied. In general, “copies” are objects from which a work can be read           application form you should file depends on the following:
or visually perceived, directly or with the aid of a machine or device, such as manu-              File Only Form SR if: The copyright claimant is the same for both the musical,
scripts, books, sheet music, film, and videotape. “Phonorecords” are objects embodying         dramatic, or literary work and for the sound recording, and you are seeking a single
fixations of sounds, such as audio tapes and phonograph disks. For example, a song (the        registration to cover both of these “works.”
“work”) can be reproduced in sheet music (“copies”) or phonograph disks (“phonore-                 File Only Form PA (or Form TX) if: You are seeking to register only the musical,
cords”), or both.                                                                              dramatic, or literary work, not the sound recording. Form PA is appropriate for works
   “Sound Recordings”: These are “works,” not “copies” or “phonorecords.” “Sound               of the performing arts; Form TX is for nondramatic literary works.
recordings” are “works that result from the fixation of a series of musical, spoken,               Separate Applications Should Be Filed on Form PA (or Form TX) and on Form
or other sounds, but not including the sounds accompanying a motion picture or                 SR if: (1) The copyright claimant for the musical, dramatic, or literary work is different
other audiovisual work.” Example: When a record company issues a new release, the              from the copyright claimant for the sound recording; or (2) you prefer to have separate
release will typically involve two distinct “works”: the “musical work” that has been          registrations for the musical, dramatic, or literary work and for the sound recording.
recorded, and the “sound recording” as a separate work in itself. The material objects
that the record company sends out are “phonorecords”: physical reproductions of both
the “musical work” and the “sound recording.”
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at www.copyright.gov, ZULWH WKH &RS\ULJKW 2IÀFH
                                                            Clear Form             Form   SR
                                                                                                                                       3                     For a Sound Recording
                                                                                                                                                             UNITED STATES COPYRIGHT OFFICE
                                                                                                                                       REGISTRATION NUMBER
or call (202) 707-3000 or 1-877-476-0778 (toll free).

Privacy Act Notice: Sections 408-410 of title 17 of the United States
Code DXWKRUL]H WKH &RS\ULJKW 2IÀFH WR FROOHFW WKH SHUVRQDOO\ LGHQWLI\LQJ
information requested on this form in order to process the applica-
tion for copyright registration. By providing this information you are
agreeing to routine uses of the information that include publication                                                                                                65                         658
to give legal notice of your copyright claim as required by 17 U.S.C.                                                                  ())(&7 9( '$7( 2) 5(* 675$7 21
 ,W ZLOO DSSHDU LQ WKH 2IÀFH·V RQOLQH FDWDORJ ,I \RX GR QRW SURYLGH
the information requested, registration may be refused or delayed,
DQG \RX PD\ QRW EH HQWLWOHG WR FHUWDLQ UHOLHI UHPHGLHV DQG EHQHÀWV
under the copyright law.
                                                                                                                                                            Month                Day                      Year

DO NOT WRITE ABOVE THIS LINE. IF YOU NEED MORE SPACE, USE A SEPARATE CONTINUATION SHEET.

                    TITLE OF THIS WORK W


1                   PREVIOUS, ALTERNATIVE, OR CONTENTS TITLES (CIRCLE ONE) W




                    NAME OF AUTHOR W                                                                                                   DATES OF BIRTH AND DEATH


2a                  Was this contribution to the work
                    a “work made for hire”?
                                                                AUTHOR’S NATIONALITY OR DOMICILE
                                                                Name o Country
                                                                                                                                       Year Born W


                                                                                                                                       THE WORK
                                                                                                                                                        Year Died W

                                                                                                                                       WAS THIS AUTHOR’S CONTRIBUTION TO
                                                                                                                                                                   WKH DQVZHU WR HLWKHU
                                 T Yes
                                                                    {   Citizen of                                                     Anonymous?                        T Yes   T No              o these questions
                                                                                     W




                                                                OR                                                                                                                                 is “Yes, see detailed
                                T No                                    Domiciled in                                                   Pseudonymous?                     T Yes   T No
                                                                                         W




                                                                                                                                                                                                   instructions

                    NATURE OF AUTHORSHIP Briefly describe nature of material created by this author in which copyright is claimed. W


NOTE
 8QGHU WKH ODZ     NAME OF AUTHOR W                                                                                                   DATES OF BIRTH AND DEATH
 the “author o                                                                                                                         Year Born W      Year Died W
 D ´ZRUN PDGH
  or hire is
 generally the      Was this contribution to the work           AUTHOR’S NATIONALITY OR DOMICILE                                       WAS THIS AUTHOR’S CONTRIBUTION TO
 HPSOR\HU QRW                                                                                                                         THE WORK
                b
                    a “work made for hire”?                     Name o Country                                                                                     WKH DQVZHU WR HLWKHU


                                                                    {
 WKH HPSOR\HH                    T Yes                                  Citizen of                                                     Anonymous?                        T Yes   T No              o these questions
                                                                                     W




  VHH LQVWUXF                                                  OR                                                                                                                                 is “Yes, see detailed
                                T No                                    Domiciled in                                                   Pseudonymous?                     T Yes   T No
                                                                                         W




 WLRQV    RU DQ\                                                                                                                                                                                   instructions
 SDUW R WKLV
 ZRUN WKDW ZDV      NATURE OF AUTHORSHIP Briefly describe nature of material created by this author in which copyright is claimed. W
“made or hire,
 FKHFN ´<HV
 LQ WKH VSDFH
 SURYLGHG JLYH
 WKH HPSOR\HU
                    NAME OF AUTHOR W                                                                                                   DATES OF BIRTH AND DEATH
  RU RWKHU                                                                                                                             Year Born W      Year Died W
 SHUVRQ RU
 ZKRP WKH ZRUN
 ZDV SUHSDUHG       Was this contribution to the work          AUTHOR’S NATIONALITY OR DOMICILE                                        WAS THIS AUTHOR’S CONTRIBUTION TO
                    a “work made for hire”?                    Name o Country                                                          THE WORK                    WKH DQVZHU WR HLWKHU

                c
 as “Author
                                 T Yes
                                                                    {   Citizen of                                                     Anonymous?                        T Yes   T No              o these questions
                                                                                     W




 R WKDW SDUW
 and leave the                                                  OR                                                                                                                                 is “Yes, see detailed
                                T No                                    Domiciled in                                                   Pseudonymous?                     T Yes   T No
                                                                                         W




 VSDFH RU GDWHV                                                                                                                                                                                    instructions
 o birth and
 GHDWK EODQN        NATURE OF AUTHORSHIP Briefly describe nature of material created by this author in which copyright is claimed. W



                    YEAR IN WHICH CREATION OF THIS                                   DATE AND NATION OF FIRST PUBLICATION OF THIS PARTICULAR WORK


3               a
                    WORK WAS COMPLETED

                                                                             b
                                                                                                                          W




                                                                                                                                                                     W




                                                                                                                                                                                               W




                                                          This in ormation           Complete this in ormation   Month                                         Day                      Year
                                                          must be given              ONLY i this work
                                                                                                                          V
                           V




                    Year                                  in all cases.              has been published.         Nation


                    COPYRIGHT CLAIMANT(S) Name and address must be given even if the claimant is the same as the author


4a
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                    given in space 2. W
                                                                                                                                       DO NOT WRITE HERE




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                                                                                                                                        OFFICE USE ONLY




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See instructions
EH RUH FRPSOHWLQJ   TRANSFER If the claimant(s) named here in space 4 is (are) different from the author(s) named in space 2, give a
WKLV VSDFH          brief statement of how the claimant(s) obtained ownership of the copyright. W

                b                                                                                                                                          )81'6 5(&( 9('




                    MORE ON BACK                • &RPSOHWH DOO DSSOLFDEOH VSDFHV QXPEHUV  RQ WKH UHYHUVH VLGH R WKLV SDJH
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                                                • See detailed instructions        • Sign the orm at line 8
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                                                              72-1 Filed 09/20/22
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                                                                                                                   EXAMINED BY                                                                       FORM SR

                                                                                                                   CHECKED BY

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DO NOT WRITE ABOVE THIS LINE. IF YOU NEED MORE SPACE, USE A SEPARATE CONTINUATION SHEET.
PREVIOUS REGISTRATION Has registration for this work, or for an earlier version of this work, already been made in the Copyright Office?
T Yes T No If your answer is “Yes,” why is another registration being sought? (Check appropriate box) W
a. T This work was previously registered in unpublished form and now has been published for the first time.
b. T This is the first application submitted by this author as copyright claimant.
c. T This is a changed version of the work, as shown by space 6 on this application.
If your answer is “Yes,” give: Previous Registration Number W                                 Year of Registration W
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DERIVATIVE WORK OR COMPILATION



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Preexisting Material Identify any preexisting work or works that this work is based on or incorporates. W


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Material Added to This Work Give a brief, general statement of the material that has been added to this work and in which copyright is claimed. W                                                  WKLV VSDFH



b
DEPOSIT ACCOUNT If the registration fee is to be charged to a deposit account established in the Copyright Office, give name and number of account.



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     Name W                                                                                    Account Number W

a
CORRESPONDENCE Give name and address to which correspondence about this application should be sent. Name/Address/Apt/City/State/Zip W



b    Area code and daytime telephone number                 (            )                                                               Fax number             (          )

     Email




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CERTIFICATION* I, the undersigned, hereby certify that I am the
Check only one W
T author                                 T owner of exclusive right(s)
T other copyright claimant               T authorized agent of
                                                                 1DPH R DXWKRU RU RWKHU FRS\ULJKW FODLPDQW RU RZQHU R H[FOXVLYH ULJKW V V

of the work identified in this application and that the statements made by me in this application are correct to the best of my knowledge.

Typed or printed name and date W If this application gives a date of publication in space 3, do not sign and submit it before that date.

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                 Signature W




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at www.copyright.gov, ZULWH WKH &RS\ULJKW 2IÀFH                                                Clear Form
                                                                                                                                       3 Form SR             For a Sound Recording
                                                                                                                                                             UNITED STATES COPYRIGHT OFFICE
                                                                                                                                       REGISTRATION NUMBER
or call (202) 707-3000 or 1-877-476-0778 (toll free).

Privacy Act Notice: Sections 408-410 of title 17 of the United States
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information requested on this form in order to process the applica-
tion for copyright registration. By providing this information you are
agreeing to routine uses of the information that include publication                                                                                                65                         658
to give legal notice of your copyright claim as required by 17 U.S.C.                                                                  ())(&7 9( '$7( 2) 5(* 675$7 21
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DQG \RX PD\ QRW EH HQWLWOHG WR FHUWDLQ UHOLHI UHPHGLHV DQG EHQHÀWV
under the copyright law.
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DO NOT WRITE ABOVE THIS LINE. IF YOU NEED MORE SPACE, USE A SEPARATE CONTINUATION SHEET.

                    TITLE OF THIS WORK W


1                   PREVIOUS, ALTERNATIVE, OR CONTENTS TITLES (CIRCLE ONE) W




                    NAME OF AUTHOR W                                                                                                   DATES OF BIRTH AND DEATH


2a                  Was this contribution to the work
                    a “work made for hire”?
                                                                AUTHOR’S NATIONALITY OR DOMICILE
                                                                Name o Country
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                    NATURE OF AUTHORSHIP Briefly describe nature of material created by this author in which copyright is claimed. W


NOTE
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 GHDWK EODQN        NATURE OF AUTHORSHIP Briefly describe nature of material created by this author in which copyright is claimed. W



                    YEAR IN WHICH CREATION OF THIS                                   DATE AND NATION OF FIRST PUBLICATION OF THIS PARTICULAR WORK


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                    COPYRIGHT CLAIMANT(S) Name and address must be given even if the claimant is the same as the author


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EH RUH FRPSOHWLQJ   TRANSFER If the claimant(s) named here in space 4 is (are) different from the author(s) named in space 2, give a
WKLV VSDFH          brief statement of how the claimant(s) obtained ownership of the copyright. W

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DO NOT WRITE ABOVE THIS LINE. IF YOU NEED MORE SPACE, USE A SEPARATE CONTINUATION SHEET.
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DERIVATIVE WORK OR COMPILATION



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DEPOSIT ACCOUNT If the registration fee is to be charged to a deposit account established in the Copyright Office, give name and number of account.



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     Name W                                                                                     Account Number W

a
CORRESPONDENCE Give name and address to which correspondence about this application should be sent. Name/Address/Apt/City/State/Zip W



b    Area code and daytime telephone number                 (            )                                                               Fax number             (          )

     Email




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CERTIFICATION* I, the undersigned, hereby certify that I am the
Check only one W
T author                                 T owner of exclusive right(s)
T other copyright claimant               T authorized agent of
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of the work identified in this application and that the statements made by me in this application are correct to the best of my knowledge.

Typed or printed name and date W If this application gives a date of publication in space 3, do not sign and submit it before that date.

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website at www.copyright.gov, write the Copy-
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Privacy Act Notice: Sections 408-410 of title 17 of the United States
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information requested on this form in order to process the applica-
tion for copyright registration. By providing this information you are
agreeing to routine uses of the information that include publication                                                                                                65                         658
to give legal notice of your copyright claim as required by 17 U.S.C.                                                                  ())(&7 9( '$7( 2) 5(* 675$7 21
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under the copyright law.
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DO NOT WRITE ABOVE THIS LINE. IF YOU NEED MORE SPACE, USE A SEPARATE CONTINUATION SHEET.

                    TITLE OF THIS WORK W


1                   PREVIOUS, ALTERNATIVE, OR CONTENTS TITLES (CIRCLE ONE) W




                    NAME OF AUTHOR W                                                                                                   DATES OF BIRTH AND DEATH


2a                  Was this contribution to the work
                    a “work made for hire”?
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                    NATURE OF AUTHORSHIP Briefly describe nature of material created by this author in which copyright is claimed. W


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 GHDWK EODQN        NATURE OF AUTHORSHIP Briefly describe nature of material created by this author in which copyright is claimed. W



                    YEAR IN WHICH CREATION OF THIS                                   DATE AND NATION OF FIRST PUBLICATION OF THIS PARTICULAR WORK


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                    COPYRIGHT CLAIMANT(S) Name and address must be given even if the claimant is the same as the author


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EH RUH FRPSOHWLQJ   TRANSFER If the claimant(s) named here in space 4 is (are) different from the author(s) named in space 2, give a
WKLV VSDFH          brief statement of how the claimant(s) obtained ownership of the copyright. W

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DO NOT WRITE ABOVE THIS LINE. IF YOU NEED MORE SPACE, USE A SEPARATE CONTINUATION SHEET.
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DERIVATIVE WORK OR COMPILATION
Preexisting Material Identify any preexisting work or works that this work is based on or incorporates. W


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b
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b    Area code and daytime telephone number                 (            )                                                               Fax number             (          )

     Email




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CERTIFICATION* I, the undersigned, hereby certify that I am the
Check only one W
T author                                 T owner of exclusive right(s)
T other copyright claimant               T authorized agent of
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of the work identified in this application and that the statements made by me in this application are correct to the best of my knowledge.

Typed or printed name and date W If this application gives a date of publication in space 3, do not sign and submit it before that date.

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                                                              February 8, 2022
VIA EMAIL

Jonathan D. Davis, Esq.
Jonathan D. Davis, P.C.
1 Rockefeller Plaza, Suite 1712
New York, New York 10020

       Re:     Nwosuocha v. Glover II et al., No. 1:21-cv-04047-VM

Dear Mr. Davis:

         I write on behalf of the Plaintiff in response to Defendants’ January 18, 2022 supplemental
letter (“Supplemental Letter”) in furtherance of the procedures described in Paragraph II.B of
Judge Marrero’s Individual Practices. For the reasons set forth below, Plaintiff disagrees with
Defendants’ characterization of his claims in the Supplemental Letter as “baseless,” and intends
to pursue those claims.

I.     Plaintiff Has Standing to Sue for Copyright Infringement.

        The Supplemental Letter repeats Defendants’ point from their initial letter that Plaintiff
lacks “technical standing” to bring this action due to an alleged failure to register his copyright in
the composition underlying “Made in America.” Defendants maintain their position that Plaintiff
has only registered a copyright in the sound recording for “Made in America.” Defendants remain
mistaken in this regard.

        Defendants concede the point made in Plaintiff’s January 12, 2022 reply letter (“Reply
Letter”) that sound recordings and compositions may be registered simultaneously on a Form SR
(or its electronic equivalent), pursuant to U.S. Copyright Circular 56A. Defendants, however,
argue that the registration applicable to “Made in America” failed to simultaneously register the
underlying composition, allegedly because the registration’s authorship description fails to include
“words,” “music,” or “words and music.” Assuming, arguendo, that Plaintiff’s registration omitted
a descriptor clarifying the full extent of his authorship, Defendants are nonetheless erroneous in
their assertion that such an oversight by Plaintiff would be fatal to his standing. However, the
nature of Plaintiff’s registration is such that no further descriptors were required to register both
the “Made in America” sound recording and its underlying composition.




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                  Plaintiff’s registration is for an unpublished collective work of sound recordings including
          “Made in America.” In the registration, Plaintiff claims sole rights and permissions in the
          collective work, which necessarily subsumes every creative contribution appearing in the entire
          collective work, including every compositional element. See U.S. Copyright Office Compendium
          509. Plaintiff’s registration, on its face, therefore claims the composition underlying “Made in
          America,” because “Made in America” is one of the sound recordings appearing in the collective
          work for which the registration claims sole rights and permissions. In this context, neither the
          additional descriptors suggested by Defendants nor any other descriptors were required for
          Plaintiff to validly register the sound recording and composition “Made in America”
          simultaneously.

          II.     Uploading “Made in America” to SoundCloud was not publication.

                  The Supplemental Letter argues that, “[b]ecause there is no copyright claim regarding your
          client’s ‘sound recording,’ the issue of whether the ‘Made in America’ sound recording has been
          published is immaterial to your client’s purported infringement claims.” Defendants then
          nonetheless go on to address the “non-relevant issue” of publication by, once again, inaccurately
          characterizing Plaintiff’s upload of “Made in America” to SoundCloud as publication for the
          purposes of copyright law. In fact, in their in their initial letter Defendants failed to cite authority
          in favor of this erroneous contention, as pointed out in the Reply Letter. Now, unable to deny the
          plain language in Circular 66 stating that streaming is not publication, Defendants vaguely assert
          that Plaintiff’s Complaint alleges “more than just streaming.” Defendants contend that the
          Complaint alleges “phonorecords were offered to multiple on-line services for public
          display/performance, which constitute publication,” but Defendants do not and cannot cite a single
          allegation in the Complaint supporting this contention.

                  The only specific act of publication that Defendants will commit to alleging is Plaintiff’s
          upload of “Made in America” to SoundCloud. Defendants’ SoundCloud theory is that Plaintiff
          published “Made in America” because SoundCloud Go, a paid subscription tier of the otherwise
          free SoundCloud, offered users the ability to stream songs offline. Defendants contend that this
          was publication because, in enabling offline listening, SoundCloud Go allowed users to “copy and
          download songs” for offline use. Defendants appear to misunderstand the nature of offline
          streaming in general. SoundCloud Go’s offline streaming feature did not enable users to “copy and
          download songs.” For offline streaming, SoundCloud Go users retain no copy of the song file and
          are required to stream the song through SoundCloud’s platform. A user is nonetheless unable to
          access the song independent of SoundCloud. Indeed, if users retained their own copy of the file, it
          would have been redundant to refer to listening to songs on SoundCloud Go as “offline” listening,
          because listening to a personally retained song file does not require cellular data or internet access.
          In sum, Defendants’ SoundCloud theory fails to evince that Plaintiff offered the public retainable
          copies of “Made in America” pre-registration.

          III.    Plaintiff Has Alleged Access and Actionable Copying.

                 The Supplemental Letter attempts to rebut the substantial similarity shown in Dr.
          Swanson’s report with the conclusory statement that “any lay listener could readily determine [the
          songs at issue] are neither ‘strikingly similar’ nor ‘substantially similar.’” As such, Defendants

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          raise a question for a trier-of-fact. Defendants’ conclusory argumentation about whether lay
          listeners would agree with Dr. Swanson’s scientific conclusion does not merit response.
          Furthermore, Defendants’ assertion that Plaintiff has plead “conclusory” assertions of striking
          similarity in the report of Dr. Swanson is devoid of merit.

          IV.     Plaintiff Will Consider Withdrawing Claims Against WMG and RCA.

                  Should the Defendants provide evidentiary proof and an affidavit in support of its
          contention that WMG and RCA are improper Defendants then Plaintiff will consider withdrawing
          the claims.




                                                                   Very Truly Yours,

                                                                   AIDALA, BERTUNA & KAMINS, P.C.

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